                                                                              Case 21-11670                  Doc 54-2              Filed 04/09/21                       Page 1 of 2
                                                                                                                                                                                                                                Monday, March 22, 2021
Auction Credit Enterprises, LLC
                                                                                                                                                                                                                                             11:05:30 AM
Receivable Detail Report
                     Robs Tower Motors Sales & Service of Taneytown LLC / 011-20                                       LOCKED -                    T1: (410) 756-6633 Attn: Robert J Freels Jr. / 529 East Baltimore Street, Taneytown, MD -
Dealer Name:                                                                                                          COLLECTIONS                  21787
                     -08-038 / Lancaster
Last Lot Audit Date: 03/15/2021
                                    Vehicle Information                                                                 Dates                      # Days                                          Amounts Due                                     Title
Auction   Deal Nbr   Vehicle     Year    Make             Model       Color   Orig Pri   Curtail/ Curtail Sale Date   Due Date      PTP /        o/s o/s    Int       Principal   Reserve   Admin Fee   Interest   NSF     Dealer    Total     TA TP TC TR
 Prefix               6 VIN                                                   Amount     Extns Amount                              CWOT /       from                                                               Check   Charges
                                                                                          Used                                      Sold        Sale
                                                                                                                                                 Date
          A6800.5    Lot Audit                                                                             02/15/2021 02/15/2021                  35   35    35             $0         $0         $0          $0      $0       $80       $80

                     Title                                                                                 02/23/2021 02/23/2021                  27   27    27             $0         $0         $0          $0      $0       $15       $15
                     Shipment
DC - Tracking:772972564496

                     Title                                                                                 02/25/2021 02/25/2021                  25   25    25             $0         $0         $0          $0      $0       $15       $15
                     Shipment
DC - Tracking-773005501062

          A6800.6    Lot Audit                                                                             03/15/2021 03/16/2021                   7    7         7         $0         $0         $0          $0      $0       $80       $80

BELAA     6800.13    447201      2014 Jeep         Grand Cherokee Gold         $13,875            $1,067 01/28/2021 03/29/2021                    53   53    53        $13,875        $75        $98        $200                     $14,248 Y     Y   Y   N

BELAA     6800.11    545077      2016 Jeep         Patriot         Black       $13,065            $1,215 01/28/2021 03/29/2021         S:         53   53    53        $13,065        $75       $298        $188                     $13,626 Y     Y   Y   N
                                                                                                                                   02/12/2021
BELAA     6800.12    A25577      2011 Ford         Explorer        Black       $11,950            $1,149 01/28/2021 03/29/2021         S:         53   53    53        $11,950        $75       $304        $172                     $12,501 Y     Y   Y   N
                                                                                                                                   02/13/2021
BELAA     6800.14    190466      2014 Jeep         Cherokee        Black       $11,145              $887 01/28/2021 03/29/2021                    53   53    53        $11,145        $75        $94        $160                     $11,474 Y     Y   Y   N


        Total of 4 Vehicles NOT Paid By Dealer                                 $50,035            $4,318                                                               $50,035       $300       $794        $720      $0      $190   $52,039



                                                                           CREDIT LIMIT: $100,000                                               RECEIVABLE BALANCE: $52,039
                                                          PAYMENTS IN PROCESS: $15,915                                                                 AVAILABLE LIMIT: $0
                                                                  AVERAGE DAYS OS: 53




                                                                                                                  EXHIBIT
                                                                                                                    B


Receivable Detail Report                                                                                                                                                                                                                       Page 1 of 2
                                                                         Case 21-11670                Doc 54-2            Filed 04/09/21               Page 2 of 2
                                                                                                                                                                                                                 Monday, March 22, 2021
Auction Credit Enterprises, LLC
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Receivable Detail Report
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Auction   Deal   Vehicle   Year        Make             Model    Color   Orig Pri Curtail/ Curtail Sale Date   Due Date    PTP /    o/s o/s    Int   Principal    Reserve    Admin Fee   Interest   NSF     Dealer    Total     TA TP TC TR
 Prefix   Nbr     6 VIN                                                  Amount Extns Amount                              CWOT /   from                                                             Check   Charges
                                                                                   Used                                    Sold    Sale
                                                                                                                                    Date


                 Report Total:                     (There is a total of 4 Vehicles NOT Paid By Dealers)                                                 $50,035       $300       $794        $720      $0      $190   $52,039




Receivable Detail Report                                                                                                                                                                                                        Page 2 of 2
